              Case 2:13-cr-00274-TLN Document 124 Filed 09/15/17 Page 1 of 2



1    GEORGE G. MGDESYAN, SBN 225476
     MGDESYAN LAW FIRM
2
     15260 VENTURA BLVD., PENTHOUSE 2200
3
     SHERMAN OAKS, CA 91403
     Telephone: (818) 386-6777
4    Facsimile: (818) 754-6877
     Email: george@mgdesyanlaw.com
5
     Attorney for Defendant
6    GARIK VOSKANYAN
7
                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA
8

9
                                                     )   Case No.: 13-cr-00274
     UNITED STATES OF AMERICA,                       )
10                                                   )   STIPULATION TO CONTINUE
                    Plaintiff,                       )   SENTENCING; PROPOSED FINDINGS
11                                                   )
                                                     )   AND ORDER
            vs.
12                                                   )
                                                     )
     GARIK VOSKANYAN,                                )   Current Date: September 15, 2017
13                                                       Proposed Date: September 29, 2017
                                                     )
                    Defendant                        )
14

15      Defendant, by and through his counsel of record, and Plaintiff United States of America, by

16   and through its counsel of record, hereby stipulate as follows:

17      1. Mr. Voskanyan entered a guilty plea on May 26, 2017.
18
        2. Judgment and Sentencing was initially set for August 25, 2017. Due to additional time
19
            needed by the probation officer to complete the presentence report, Judgment and
20
            Sentencing was continued to September 15, 2017.
21
        3. Defendant requests that the Judgment and Sentencing date currently set for September
22
            15, 2017 be continued to September 29, 2017 due to unavailability of Mr, Mgdesyan,
23
            counsel for the defendant. Mr. Mgdesyan is involved in a trial before the Honorable P.
24

25

26

27                                                        1


28
             Case 2:13-cr-00274-TLN Document 124 Filed 09/15/17 Page 2 of 2


           Tamu Usher in Department B of the San Fernando Courthouse, case number 7SV01454.
1
           The trial is expected to last until Thursday, September 21, 2017.
2

3
        4. The government does not object to the requested continuance.

4       5. By this stipulation, defendant now moves to continue the sentencing to September 29,

5          2017.

6    IT IS SO STIPULATED.
7    Dated: September 13, 2017                      Respectfully Submitted,
                                                MGDESYAN LAW FIRM
8

9                                               /s/ George G. Mgdesyan
                                                George G. Mgdesyan
10
                                                Mgdesyan Law Firm
11                                              Attorney for Defendant
                                                GARIK VOSKANYAN
12

13   Dated: September 13, 2017                          Respectfully Submitted,

14                                              /s/
                                                Amy Schuller Hitchcock
15                                              Assistant United States Attorney
                                                Attorney for Plaintiff
16                                              UNITED STATES OF AMERICA
17
     [PROPOSED] FINDINGS AND ORDER
18

19   IT IS SO FOUND AND ORDERED.

20   Dated: September 14, 2017

21

22

23

24

25

26

27                                                      2


28
